Case 2:20-cr-00155-VAP Document 102-4 Filed 04/19/21 Page 1 of 21 Page ID #:773




             EXHIBIT B




                                                                    EXHIBIT B
                                                                           12
Case 2:20-cr-00155-VAP Document 102-4 Filed 04/19/21 Page 2 of 21 Page ID #:774

  From:                Ram, Ashwin
  To:                  Elisa.Fernandez@usdoj.gov; Daniel.Obrien@usdoj.gov; Mack.Jenkins@usdoj.gov
  Cc:                  Evan J. Davis; Bishop, Bruce; Reyes, Angel
  Subject:             Imaad Zuberi Follow-up
  Date:                Thursday, March 4, 2021 11:34:53 AM


  Elisa, Dan, Mack: Steptoe has been retained to represent Imaad Zuberi.

  Evan indicated that a quit claim deed needs to be submitted to the USAO today per a bond
  condition. Although I am not yet familiar with the bond conditions in general or this requirement in
  particular, Imaad has provided me an original signed and notarized copy of the quitclaim deed form
  that Evan provided to him for this purpose.

  We can have a courier drop it off to one of you this afternoon assuming one of you are in the office.
  Or if you have a different preference please let us know and we will coordinate accordingly.

  We will separately contact you tomorrow regarding CIPA clearances and other administrative issues.

  Hope all is well. Ashwin

  Ashwin J. Ram
  Partner
  aram@Steptoe.com


  Steptoe
  +1 213 439 9443 direct         Steptoe & Johnson LLP
  +1 213 439 9599 fax            633 West Fifth Street
                                 Suite 1900
                                 Los Angeles, CA 90071
                                 www.steptoe.com


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                                                                                                                   EXHIBIT B
                                                                                                                          13
Case 2:20-cr-00155-VAP Document 102-4 Filed 04/19/21 Page 3 of 21 Page ID #:775

  From:                Ram, Ashwin
  To:                  Fernandez, Elisa (USACAC); OBrien, Daniel J. (USACAC); Jenkins, Mack (USACAC)
  Cc:                  Bishop, Bruce; Reyes, Angel; Brown, Inez; Robert Eatinger
  Subject:             RE: Imaad Zuberi Follow-up
  Date:                Friday, March 5, 2021 11:30:09 AM


  All: FYI – delivery is all set for between Noon and 2P today as proposed below.

  In terms of next steps, please let us know what makes sense to get the ball rolling on CIPA clearances
  for our team.   Thank you. Ashwin

  Ashwin J. Ram
  Partner
  aram@Steptoe.com


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  delete this message.




  From: Fernandez, Elisa (USACAC) <elisa.fernandez@usdoj.gov>
  Sent: Thursday, March 4, 2021 6:52 PM
  To: Young Crystal D <Crystal.D.Young@irs.gov>; OBrien, Daniel J. (USACAC)
  <Daniel.Obrien@usdoj.gov>; Ram, Ashwin <aram@Steptoe.com>; Jenkins, Mack (USACAC)
  <Mack.Jenkins@usdoj.gov>; Lucero John M (CI) <John.Lucero@ci.irs.gov>; Stevens Farrell L
  <Farrell.L.Stevens@irs.gov>
  Cc: davis@taxlitigator.com; Bishop, Bruce <BBishop@steptoe.com>; Reyes, Angel
  <areyes@Steptoe.com>; Brown, Inez <Ibrown@steptoe.com>; Leyva, Jose [Contractor - Epiq]
  <jleyva@Steptoe.com>
  Subject: RE: Imaad Zuberi Follow-up

  Ashwin and Ms. Brown,

  Per the email below, please have a courier deliver the documents on Friday, March 5, 2021 after
  12:00 noon to:

             Crystal D. Young
             Internal Revenue Service
             300 N. Los Angeles Street




                                                                                                                   EXHIBIT B
                                                                                                                          14
Case 2:20-cr-00155-VAP Document 102-4 Filed 04/19/21 Page 4 of 21 Page ID #:776
             Los Angeles, CA 90012
             Tel: (213) 372-4403

   Thank you both.

          Elisa



   From: Young Crystal D <Crystal.D.Young@irs.gov>
   Sent: Thursday, March 4, 2021 6:43 PM
   To: OBrien, Daniel J. (USACAC) <DOBrien@usa.doj.gov>; aram@Steptoe.com; Fernandez, Elisa
   (USACAC) <EFernandez1@usa.doj.gov>; Jenkins, Mack (USACAC) <MJenkins@usa.doj.gov>; Lucero
   John M (CI) <John.Lucero@ci.irs.gov>; Stevens Farrell L <Farrell.L.Stevens@irs.gov>
   Cc: davis@taxlitigator.com; BBishop@steptoe.com; areyes@Steptoe.com; Ibrown@steptoe.com;
   jleyva@Steptoe.com
   Subject: RE: Imaad Zuberi Follow-up

   I can be in the office tomorrow, no earlier than noon, to receive the quit claim.
   I’ll be at 300 N Los Angeles St. 90012 and can be reached at 213-372-4403.

   Crystal


   From: OBrien, Daniel J. (USACAC) <Daniel.Obrien@usdoj.gov>
   Sent: Thursday, March 4, 2021 3:21 PM
   To: Ram, Ashwin <aram@Steptoe.com>; Fernandez, Elisa (USACAC) <elisa.fernandez@usdoj.gov>;
   Jenkins, Mack (USACAC) <Mack.Jenkins@usdoj.gov>; Lucero John M (CI) <John.Lucero@ci.irs.gov>;
   Young Crystal D <Crystal.D.Young@irs.gov>; Stevens Farrell L <Farrell.L.Stevens@irs.gov>
   Cc: Evan J. Davis <davis@taxlitigator.com>; Bishop, Bruce <BBishop@steptoe.com>; Reyes, Angel
   <areyes@Steptoe.com>; Brown, Inez <Ibrown@steptoe.com>; Leyva, Jose [Contractor - Epiq]
   <jleyva@Steptoe.com>
   Subject: RE: Imaad Zuberi Follow-up

   Hi, Ashwin. Hope all is well.

   I’m sorry, but I was in an interview all day.

   I’d ask that you deliver the quit claims to the IRS Revenue Agents although the Special Agent will do
   if they aren’t available.

   I’m copying them and asking that they explain how they would prefer to have the document
   delivered.

   Thanks.

   From: Ram, Ashwin <aram@Steptoe.com>




                                                                                             EXHIBIT B
                                                                                                    15
Case 2:20-cr-00155-VAP Document 102-4 Filed 04/19/21 Page 5 of 21 Page ID #:777
  Sent: Thursday, March 04, 2021 2:26 PM
  To: Fernandez, Elisa (USACAC) <EFernandez1@usa.doj.gov>; OBrien, Daniel J. (USACAC)
  <DOBrien@usa.doj.gov>; Jenkins, Mack (USACAC) <MJenkins@usa.doj.gov>
  Cc: Evan J. Davis <davis@taxlitigator.com>; Bishop, Bruce <BBishop@steptoe.com>; Reyes, Angel
  <areyes@Steptoe.com>; Brown, Inez <Ibrown@steptoe.com>; Leyva, Jose [Contractor - Epiq]
  <jleyva@Steptoe.com>
  Subject: RE: Imaad Zuberi Follow-up

  All: In case we don’t connect today, attaching the scanned copy of the original notarized version.  

  I will leave the original on my office desk, and Inez/Jose will coordinate with a courier to personally
  deliver the original at your convenience and direction.   Thanks again. Ashwin

  Ashwin J. Ram
  Partner
  aram@Steptoe.com


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  From: Ram, Ashwin
  Sent: Thursday, March 4, 2021 11:35 AM
  To: 'Elisa.Fernandez@usdoj.gov' <Elisa.Fernandez@usdoj.gov>; 'Daniel.Obrien@usdoj.gov'
  <Daniel.Obrien@usdoj.gov>; 'Mack.Jenkins@usdoj.gov' <Mack.Jenkins@usdoj.gov>
  Cc: 'Evan J. Davis' <davis@taxlitigator.com>; Bishop, Bruce <BBishop@steptoe.com>; Reyes, Angel
  <areyes@Steptoe.com>
  Subject: Imaad Zuberi Follow-up

  Elisa, Dan, Mack: Steptoe has been retained to represent Imaad Zuberi.

  Evan indicated that a quit claim deed needs to be submitted to the USAO today per a bond
  condition. Although I am not yet familiar with the bond conditions in general or this requirement in
  particular, Imaad has provided me an original signed and notarized copy of the quitclaim deed form
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                                                                                                                   EXHIBIT B
                                                                                                                          16
Case 2:20-cr-00155-VAP Document 102-4 Filed 04/19/21 Page 6 of 21 Page ID #:778
  Or if you have a different preference please let us know and we will coordinate accordingly.

  We will separately contact you tomorrow regarding CIPA clearances and other administrative issues.

  Hope all is well. Ashwin

  Ashwin J. Ram
  Partner
  aram@Steptoe.com


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                                                                                                                   EXHIBIT B
                                                                                                                          17
Case 2:20-cr-00155-VAP Document 102-4 Filed 04/19/21 Page 7 of 21 Page ID #:779

  From:                Fernandez, Elisa (USACAC)
  To:                  Ram, Ashwin; OBrien, Daniel J. (USACAC); Jenkins, Mack (USACAC); Heinz, Judith (USACAC)
  Cc:                  Bishop, Bruce; Reyes, Angel; Robert Eatinger
  Subject:             RE: Imaad Zuberi Follow-up
  Date:                Monday, March 8, 2021 11:34:01 AM


  Ashwin,

  Thank you for your message below, let’s table our discussion this afternoon until after all notices of
  appearances and withdrawal of counsel have been filed. This will also enable us to work out the
  remaining bond issues. Thereafter, we will circulate a new date and time to meet.

          Elisa




  From: Ram, Ashwin <aram@Steptoe.com>
  Sent: Monday, March 8, 2021 10:16 AM
  To: Fernandez, Elisa (USACAC) <EFernandez1@usa.doj.gov>; OBrien, Daniel J. (USACAC)
  <DOBrien@usa.doj.gov>; Jenkins, Mack (USACAC) <MJenkins@usa.doj.gov>; Heinz, Judith (USACAC)
  <JHeinz@usa.doj.gov>
  Cc: Bishop, Bruce <BBishop@steptoe.com>; Reyes, Angel <areyes@Steptoe.com>; Robert Eatinger
  <reatinger@eatingerlaw.com>
  Subject: RE: Imaad Zuberi Follow-up

  Elisa: Per our last call, we are filing notices of appearance today in the Ninth Circuit. Bob, Bruce,
  Angel and I are available tomorrow afternoon if that works for your team. Thanks. Ashwin

  Ashwin J. Ram
  Partner
  aram@Steptoe.com


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  From: Fernandez, Elisa (USACAC) <elisa.fernandez@usdoj.gov>
  Sent: Friday, March 5, 2021 12:28 PM




                                                                                                                   EXHIBIT B
                                                                                                                          18
Case 2:20-cr-00155-VAP Document 102-4 Filed 04/19/21 Page 8 of 21 Page ID #:780
  To: Ram, Ashwin <aram@Steptoe.com>; OBrien, Daniel J. (USACAC) <Daniel.Obrien@usdoj.gov>;
  Jenkins, Mack (USACAC) <Mack.Jenkins@usdoj.gov>; Heinz, Judith (USACAC)
  <Judith.Heinz@usdoj.gov>
  Cc: Bishop, Bruce <BBishop@steptoe.com>; Reyes, Angel <areyes@Steptoe.com>; Brown, Inez
  <Ibrown@steptoe.com>; Robert Eatinger <reatinger@eatingerlaw.com>
  Subject: RE: Imaad Zuberi Follow-up

  Aswin,

  AUSA Judy Heinz and I would like to set up a call to discuss the notice of appeal for Monday, March
  8, 2021 at 2:30 PM PST. I have added Judy Heinz to this email. Prior to our call, please let us know
  who else you intend to have on the call. I can circulate a conference call line or webex meeting link.

  Let us know if the date and time works for you.

           Elisa




                                                                                             EXHIBIT B
                                                                                                    19
Case 2:20-cr-00155-VAP Document 102-4 Filed 04/19/21 Page 9 of 21 Page ID #:781

  From:                Fernandez, Elisa (USACAC)
  To:                  Ram, Ashwin; OBrien, Daniel J. (USACAC); Jenkins, Mack (USACAC); Heinz, Judith (USACAC)
  Cc:                  Bishop, Bruce; Reyes, Angel; Robert Eatinger
  Subject:             RE: Imaad Zuberi Follow-up
  Date:                Tuesday, March 9, 2021 12:11:00 PM


  Ashwin,

  Thank you for the update. Will Evan Davis and his team continue as counsel of record. In terms of
  scheduling when to you anticipate the Brown George and Ross team filing the notices of
  substitution.

          Elisa



  From: Ram, Ashwin <aram@Steptoe.com>
  Sent: Tuesday, March 9, 2021 10:40 AM
  To: Fernandez, Elisa (USACAC) <EFernandez1@usa.doj.gov>; OBrien, Daniel J. (USACAC)
  <DOBrien@usa.doj.gov>; Jenkins, Mack (USACAC) <MJenkins@usa.doj.gov>; Heinz, Judith (USACAC)
  <JHeinz@usa.doj.gov>
  Cc: Bishop, Bruce <BBishop@steptoe.com>; Reyes, Angel <areyes@Steptoe.com>; Robert Eatinger
  <reatinger@eatingerlaw.com>
  Subject: RE: Imaad Zuberi Follow-up

  Hi Elisa – By way of update, notices of appearance have been filed and the substitution of counsel
  form has been fully executed by the client (pending filing shortly by the Brown George Ross team).
  Given the time sensitivity here, please let us know whether an afternoon call today or tomorrow
  would work so we can get the clearance process started and discuss related issues. Thanks. Ashwin

  Ashwin J. Ram
  Partner
  aram@Steptoe.com


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  From: Fernandez, Elisa (USACAC) <elisa.fernandez@usdoj.gov>




                                                                                                                   EXHIBIT B
                                                                                                                          20
Case 2:20-cr-00155-VAP Document 102-4 Filed 04/19/21 Page 10 of 21 Page ID #:782
   Sent: Monday, March 8, 2021 11:33 AM
   To: Ram, Ashwin <aram@Steptoe.com>; OBrien, Daniel J. (USACAC) <Daniel.Obrien@usdoj.gov>;
   Jenkins, Mack (USACAC) <Mack.Jenkins@usdoj.gov>; Heinz, Judith (USACAC)
   <Judith.Heinz@usdoj.gov>
   Cc: Bishop, Bruce <BBishop@steptoe.com>; Reyes, Angel <areyes@Steptoe.com>; Robert Eatinger
   <reatinger@eatingerlaw.com>
   Subject: RE: Imaad Zuberi Follow-up

   Ashwin,

   Thank you for your message below, let’s table our discussion this afternoon until after all notices of
   appearances and withdrawal of counsel have been filed. This will also enable us to work out the
   remaining bond issues. Thereafter, we will circulate a new date and time to meet.

           Elisa




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   Sent: Monday, March 8, 2021 10:16 AM
   To: Fernandez, Elisa (USACAC) <EFernandez1@usa.doj.gov>; OBrien, Daniel J. (USACAC)
   <DOBrien@usa.doj.gov>; Jenkins, Mack (USACAC) <MJenkins@usa.doj.gov>; Heinz, Judith (USACAC)
   <JHeinz@usa.doj.gov>
   Cc: Bishop, Bruce <BBishop@steptoe.com>; Reyes, Angel <areyes@Steptoe.com>; Robert Eatinger
   <reatinger@eatingerlaw.com>
   Subject: RE: Imaad Zuberi Follow-up

   Elisa: Per our last call, we are filing notices of appearance today in the Ninth Circuit. Bob, Bruce,
   Angel and I are available tomorrow afternoon if that works for your team. Thanks. Ashwin

   Ashwin J. Ram
   Partner
   aram@Steptoe.com


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                                                                                                                    EXHIBIT B
                                                                                                                           21
Case 2:20-cr-00155-VAP Document 102-4 Filed 04/19/21 Page 11 of 21 Page ID #:783


   From: Fernandez, Elisa (USACAC) <elisa.fernandez@usdoj.gov>
   Sent: Friday, March 5, 2021 12:28 PM
   To: Ram, Ashwin <aram@Steptoe.com>; OBrien, Daniel J. (USACAC) <Daniel.Obrien@usdoj.gov>;
   Jenkins, Mack (USACAC) <Mack.Jenkins@usdoj.gov>; Heinz, Judith (USACAC)
   <Judith.Heinz@usdoj.gov>
   Cc: Bishop, Bruce <BBishop@steptoe.com>; Reyes, Angel <areyes@Steptoe.com>; Brown, Inez
   <Ibrown@steptoe.com>; Robert Eatinger <reatinger@eatingerlaw.com>
   Subject: RE: Imaad Zuberi Follow-up

   Aswin,

   AUSA Judy Heinz and I would like to set up a call to discuss the notice of appeal for Monday, March
   8, 2021 at 2:30 PM PST. I have added Judy Heinz to this email. Prior to our call, please let us know
   who else you intend to have on the call. I can circulate a conference call line or webex meeting link.

   Let us know if the date and time works for you.

            Elisa




                                                                                              EXHIBIT B
                                                                                                     22
Case 2:20-cr-00155-VAP Document 102-4 Filed 04/19/21 Page 12 of 21 Page ID #:784

   From:                Ram, Ashwin
   To:                  Fernandez, Elisa (USACAC); OBrien, Daniel J. (USACAC); Jenkins, Mack (USACAC); Heinz, Judith (USACAC)
   Cc:                  Bishop, Bruce; Reyes, Angel; Robert Eatinger
   Subject:             RE: Imaad Zuberi Follow-up
   Date:                Wednesday, March 10, 2021 9:45:56 AM


   Hi Elisa – To recap:

       1. The substitution of counsel form was filed yesterday by the Brown George & Ross team.

       2. Evan separately responded yesterday to clarify his role and non-CIPA involvement.

       3. Bruce Bishop, Bob Eatinger, Angel Reyes, and I have all entered notices of appearance.

   We are generally available this afternoon (PDT) to follow-up on next steps.   Standing by for your
   confirmation and a proposed time for the call. Thanks. Ashwin

   Ashwin J. Ram
   Partner
   aram@Steptoe.com


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   Sent: Tuesday, March 9, 2021 12:10 PM
   To: Ram, Ashwin <aram@Steptoe.com>; OBrien, Daniel J. (USACAC) <Daniel.Obrien@usdoj.gov>;
   Jenkins, Mack (USACAC) <Mack.Jenkins@usdoj.gov>; Heinz, Judith (USACAC)
   <Judith.Heinz@usdoj.gov>
   Cc: Bishop, Bruce <BBishop@steptoe.com>; Reyes, Angel <areyes@Steptoe.com>; Robert Eatinger
   <reatinger@eatingerlaw.com>
   Subject: RE: Imaad Zuberi Follow-up

   Ashwin,

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   scheduling when to you anticipate the Brown George and Ross team filing the notices of




                                                                                                                     EXHIBIT B
                                                                                                                            23
Case 2:20-cr-00155-VAP Document 102-4 Filed 04/19/21 Page 13 of 21 Page ID #:785
   substitution.

           Elisa



   From: Ram, Ashwin <aram@Steptoe.com>
   Sent: Tuesday, March 9, 2021 10:40 AM
   To: Fernandez, Elisa (USACAC) <EFernandez1@usa.doj.gov>; OBrien, Daniel J. (USACAC)
   <DOBrien@usa.doj.gov>; Jenkins, Mack (USACAC) <MJenkins@usa.doj.gov>; Heinz, Judith (USACAC)
   <JHeinz@usa.doj.gov>
   Cc: Bishop, Bruce <BBishop@steptoe.com>; Reyes, Angel <areyes@Steptoe.com>; Robert Eatinger
   <reatinger@eatingerlaw.com>
   Subject: RE: Imaad Zuberi Follow-up

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   would work so we can get the clearance process started and discuss related issues. Thanks. Ashwin

   Ashwin J. Ram
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   aram@Steptoe.com


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   From: Fernandez, Elisa (USACAC) <elisa.fernandez@usdoj.gov>
   Sent: Monday, March 8, 2021 11:33 AM
   To: Ram, Ashwin <aram@Steptoe.com>; OBrien, Daniel J. (USACAC) <Daniel.Obrien@usdoj.gov>;
   Jenkins, Mack (USACAC) <Mack.Jenkins@usdoj.gov>; Heinz, Judith (USACAC)
   <Judith.Heinz@usdoj.gov>
   Cc: Bishop, Bruce <BBishop@steptoe.com>; Reyes, Angel <areyes@Steptoe.com>; Robert Eatinger
   <reatinger@eatingerlaw.com>
   Subject: RE: Imaad Zuberi Follow-up

   Ashwin,




                                                                                                                    EXHIBIT B
                                                                                                                           24
Case 2:20-cr-00155-VAP Document 102-4 Filed 04/19/21 Page 14 of 21 Page ID #:786


   Thank you for your message below, let’s table our discussion this afternoon until after all notices of
   appearances and withdrawal of counsel have been filed. This will also enable us to work out the
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   Sent: Monday, March 8, 2021 10:16 AM
   To: Fernandez, Elisa (USACAC) <EFernandez1@usa.doj.gov>; OBrien, Daniel J. (USACAC)
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   <JHeinz@usa.doj.gov>
   Cc: Bishop, Bruce <BBishop@steptoe.com>; Reyes, Angel <areyes@Steptoe.com>; Robert Eatinger
   <reatinger@eatingerlaw.com>
   Subject: RE: Imaad Zuberi Follow-up

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   Ashwin J. Ram
   Partner
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   Sent: Friday, March 5, 2021 12:28 PM
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   Jenkins, Mack (USACAC) <Mack.Jenkins@usdoj.gov>; Heinz, Judith (USACAC)
   <Judith.Heinz@usdoj.gov>
   Cc: Bishop, Bruce <BBishop@steptoe.com>; Reyes, Angel <areyes@Steptoe.com>; Brown, Inez
   <Ibrown@steptoe.com>; Robert Eatinger <reatinger@eatingerlaw.com>
   Subject: RE: Imaad Zuberi Follow-up




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   Aswin,

   AUSA Judy Heinz and I would like to set up a call to discuss the notice of appeal for Monday, March
   8, 2021 at 2:30 PM PST. I have added Judy Heinz to this email. Prior to our call, please let us know
   who else you intend to have on the call. I can circulate a conference call line or webex meeting link.

   Let us know if the date and time works for you.

            Elisa




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   From:             Reyes, Angel
   To:               Fernandez, Elisa (USACAC); Ram, Ashwin; OBrien, Daniel J. (USACAC); Jenkins, Mack (USACAC); Heinz, Judith
                     (USACAC); Turgeon, Evan (NSD)
   Cc:               Bishop, Bruce; Robert Eatinger; Reyes, Angel
   Subject:          RE: Imaad Zuberi Follow-up
   Date:             Thursday, March 11, 2021 12:35:00 PM


   Thanks, Elisa. I will circulate a dial-in number shortly.

   Angel


   From: Fernandez, Elisa (USACAC) <elisa.fernandez@usdoj.gov>
   Sent: Thursday, March 11, 2021 2:33 PM
   To: Ram, Ashwin <aram@Steptoe.com>; OBrien, Daniel J. (USACAC) <Daniel.Obrien@usdoj.gov>;
   Jenkins, Mack (USACAC) <Mack.Jenkins@usdoj.gov>; Heinz, Judith (USACAC)
   <Judith.Heinz@usdoj.gov>; Turgeon, Evan (NSD) <Evan.Turgeon@usdoj.gov>
   Cc: Bishop, Bruce <BBishop@steptoe.com>; Reyes, Angel <areyes@Steptoe.com>; Robert Eatinger
   <reatinger@eatingerlaw.com>
   Subject: RE: Imaad Zuberi Follow-up

   Ashwin,

   On our end, we are available on Monday, March 15, 2021 at 1:00 PST. Can you circulate a
   conference call unber.

           Elisa


   From: Ram, Ashwin <aram@Steptoe.com>
   Sent: Wednesday, March 10, 2021 8:37 PM
   To: Fernandez, Elisa (USACAC) <EFernandez1@usa.doj.gov>; OBrien, Daniel J. (USACAC)
   <DOBrien@usa.doj.gov>; Jenkins, Mack (USACAC) <MJenkins@usa.doj.gov>; Heinz, Judith (USACAC)
   <JHeinz@usa.doj.gov>
   Cc: Bishop, Bruce <BBishop@steptoe.com>; Reyes, Angel <areyes@Steptoe.com>; Robert Eatinger
   <reatinger@eatingerlaw.com>
   Subject: RE: Imaad Zuberi Follow-up

   Elisa: I was reminded of the Friday Meetings at 11A PT. Assuming we cannot find an afternoon time
   to speak tomorrow (Thursday) or Friday any time after 2:30P, we can also do Monday anytime
   between 12:15 – 3:30 PT. Thanks. Ashwin

   Ashwin J. Ram
   Partner
   aram@Steptoe.com


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   From: Ram, Ashwin
   Sent: Wednesday, March 10, 2021 10:54 AM
   To: 'Fernandez, Elisa (USACAC)' <elisa.fernandez@usdoj.gov>; OBrien, Daniel J. (USACAC)
   <Daniel.Obrien@usdoj.gov>; Jenkins, Mack (USACAC) <Mack.Jenkins@usdoj.gov>; Heinz, Judith
   (USACAC) <Judith.Heinz@usdoj.gov>
   Cc: Bishop, Bruce <BBishop@steptoe.com>; Reyes, Angel <areyes@Steptoe.com>; Robert Eatinger
   <reatinger@eatingerlaw.com>
   Subject: RE: Imaad Zuberi Follow-up

   Elise: On Friday (March 12), looks like we are all available 11:30A PT to 1P PT and from 2:45P
   onwards PT. Please let us know if there is overlapping availability. Thanks. Ashwin

   Ashwin J. Ram
   Partner
   aram@Steptoe.com


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                                  Los Angeles, CA 90071
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   From: Fernandez, Elisa (USACAC) <elisa.fernandez@usdoj.gov>
   Sent: Wednesday, March 10, 2021 10:35 AM
   To: Ram, Ashwin <aram@Steptoe.com>; OBrien, Daniel J. (USACAC) <Daniel.Obrien@usdoj.gov>;
   Jenkins, Mack (USACAC) <Mack.Jenkins@usdoj.gov>; Heinz, Judith (USACAC)
   <Judith.Heinz@usdoj.gov>
   Cc: Bishop, Bruce <BBishop@steptoe.com>; Reyes, Angel <areyes@Steptoe.com>; Robert Eatinger
   <reatinger@eatingerlaw.com>




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   Subject: RE: Imaad Zuberi Follow-up

   Ashwin,

   Thank you. Touching base with everyone’s schedules. What is your availability on Friday or early
   next week.

      Elisa




   From: Ram, Ashwin <aram@Steptoe.com>
   Sent: Wednesday, March 10, 2021 9:46 AM
   To: Fernandez, Elisa (USACAC) <EFernandez1@usa.doj.gov>; OBrien, Daniel J. (USACAC)
   <DOBrien@usa.doj.gov>; Jenkins, Mack (USACAC) <MJenkins@usa.doj.gov>; Heinz, Judith (USACAC)
   <JHeinz@usa.doj.gov>
   Cc: Bishop, Bruce <BBishop@steptoe.com>; Reyes, Angel <areyes@Steptoe.com>; Robert Eatinger
   <reatinger@eatingerlaw.com>
   Subject: RE: Imaad Zuberi Follow-up

   Hi Elisa – To recap:

       1. The substitution of counsel form was filed yesterday by the Brown George & Ross team.

       2. Evan separately responded yesterday to clarify his role and non-CIPA involvement.

       3. Bruce Bishop, Bob Eatinger, Angel Reyes, and I have all entered notices of appearance.

   We are generally available this afternoon (PDT) to follow-up on next steps.   Standing by for your
   confirmation and a proposed time for the call. Thanks. Ashwin

   Ashwin J. Ram
   Partner
   aram@Steptoe.com


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   From: Fernandez, Elisa (USACAC) <elisa.fernandez@usdoj.gov>
   Sent: Tuesday, March 9, 2021 12:10 PM
   To: Ram, Ashwin <aram@Steptoe.com>; OBrien, Daniel J. (USACAC) <Daniel.Obrien@usdoj.gov>;
   Jenkins, Mack (USACAC) <Mack.Jenkins@usdoj.gov>; Heinz, Judith (USACAC)
   <Judith.Heinz@usdoj.gov>
   Cc: Bishop, Bruce <BBishop@steptoe.com>; Reyes, Angel <areyes@Steptoe.com>; Robert Eatinger
   <reatinger@eatingerlaw.com>
   Subject: RE: Imaad Zuberi Follow-up

   Ashwin,

   Thank you for the update. Will Evan Davis and his team continue as counsel of record. In terms of
   scheduling when to you anticipate the Brown George and Ross team filing the notices of
   substitution.

          Elisa



   From: Ram, Ashwin <aram@Steptoe.com>
   Sent: Tuesday, March 9, 2021 10:40 AM
   To: Fernandez, Elisa (USACAC) <EFernandez1@usa.doj.gov>; OBrien, Daniel J. (USACAC)
   <DOBrien@usa.doj.gov>; Jenkins, Mack (USACAC) <MJenkins@usa.doj.gov>; Heinz, Judith (USACAC)
   <JHeinz@usa.doj.gov>
   Cc: Bishop, Bruce <BBishop@steptoe.com>; Reyes, Angel <areyes@Steptoe.com>; Robert Eatinger
   <reatinger@eatingerlaw.com>
   Subject: RE: Imaad Zuberi Follow-up

   Hi Elisa – By way of update, notices of appearance have been filed and the substitution of counsel
   form has been fully executed by the client (pending filing shortly by the Brown George Ross team).
   Given the time sensitivity here, please let us know whether an afternoon call today or tomorrow
   would work so we can get the clearance process started and discuss related issues. Thanks. Ashwin

   Ashwin J. Ram
   Partner
   aram@Steptoe.com


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   From: Fernandez, Elisa (USACAC) <elisa.fernandez@usdoj.gov>
   Sent: Monday, March 8, 2021 11:33 AM
   To: Ram, Ashwin <aram@Steptoe.com>; OBrien, Daniel J. (USACAC) <Daniel.Obrien@usdoj.gov>;
   Jenkins, Mack (USACAC) <Mack.Jenkins@usdoj.gov>; Heinz, Judith (USACAC)
   <Judith.Heinz@usdoj.gov>
   Cc: Bishop, Bruce <BBishop@steptoe.com>; Reyes, Angel <areyes@Steptoe.com>; Robert Eatinger
   <reatinger@eatingerlaw.com>
   Subject: RE: Imaad Zuberi Follow-up

   Ashwin,

   Thank you for your message below, let’s table our discussion this afternoon until after all notices of
   appearances and withdrawal of counsel have been filed. This will also enable us to work out the
   remaining bond issues. Thereafter, we will circulate a new date and time to meet.

           Elisa




   From: Ram, Ashwin <aram@Steptoe.com>
   Sent: Monday, March 8, 2021 10:16 AM
   To: Fernandez, Elisa (USACAC) <EFernandez1@usa.doj.gov>; OBrien, Daniel J. (USACAC)
   <DOBrien@usa.doj.gov>; Jenkins, Mack (USACAC) <MJenkins@usa.doj.gov>; Heinz, Judith (USACAC)
   <JHeinz@usa.doj.gov>
   Cc: Bishop, Bruce <BBishop@steptoe.com>; Reyes, Angel <areyes@Steptoe.com>; Robert Eatinger
   <reatinger@eatingerlaw.com>
   Subject: RE: Imaad Zuberi Follow-up

   Elisa: Per our last call, we are filing notices of appearance today in the Ninth Circuit. Bob, Bruce,
   Angel and I are available tomorrow afternoon if that works for your team. Thanks. Ashwin

   Ashwin J. Ram
   Partner
   aram@Steptoe.com


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   From: Fernandez, Elisa (USACAC) <elisa.fernandez@usdoj.gov>
   Sent: Friday, March 5, 2021 12:28 PM
   To: Ram, Ashwin <aram@Steptoe.com>; OBrien, Daniel J. (USACAC) <Daniel.Obrien@usdoj.gov>;
   Jenkins, Mack (USACAC) <Mack.Jenkins@usdoj.gov>; Heinz, Judith (USACAC)
   <Judith.Heinz@usdoj.gov>
   Cc: Bishop, Bruce <BBishop@steptoe.com>; Reyes, Angel <areyes@Steptoe.com>; Brown, Inez
   <Ibrown@steptoe.com>; Robert Eatinger <reatinger@eatingerlaw.com>
   Subject: RE: Imaad Zuberi Follow-up

   Aswin,

   AUSA Judy Heinz and I would like to set up a call to discuss the notice of appeal for Monday, March
   8, 2021 at 2:30 PM PST. I have added Judy Heinz to this email. Prior to our call, please let us know
   who else you intend to have on the call. I can circulate a conference call line or webex meeting link.

   Let us know if the date and time works for you.

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